              Case 2:07-cr-00088-KJM Document 249 Filed 12/04/08 Page 1 of 2


 1 BRUCE LOCKE (#177787)
   Moss & Locke
 2 555 University Avenue, Suite 170
   Sacramento, CA 95825
 3 (916) 569-0667
   (916) 569-0665 fax
 4 blocke@mosslocke.com
 5 Attorneys for
   JESUS VALENCIA ONTIVEROS
 6
 7                           IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9 UNITED STATES OF AMERICA, )                    No. CR.S-07-0088-FCD
                                 )
10                   Plaintiff,  )
                                 )
11                               )                SECOND REQUEST TO PHONE MEXICO
         v.                      )                TO TALK TO PARENTS AND ORDER
12                               )
   JESUS VALENCIA ONTIVEROS )
13                               )
                                 )
14                               )
                     Defendant.  )
15 ______________________________)
16          The defendant, Jesus Valencia Ontiveros, by and through his attorney, Bruce Locke, hereby
17 requests that he be able to phone his family in Mexico from the Sacramento County Jail at his own
18 expense. Mr. Valencia Ontiveros is very close to his parents and he has only been able to talk with
19 them one time since he was arrested February 27, 2007. Mr. Ontiveros has been advised that his
20 mother has been in the hospital recently due to diabetes and he is concerned that her medical condition
21 may be very serious. The jail will allow Mr. Valencia Ontiveros to phone his home in Mexico with
22 an international calling card, if the Court so orders.
23          Mr. Valencia Ontiveros, whose jail X-Ref number is X-4313231 hereby requests this Court
24 order the Sacramento County jail to grant him access to a telephone on which he can place a call to
25 the home of his mother and father in Mexico at 011-52-313-327-7137 and that he be allowed to
26 speak with his family members there for at least twenty minutes or for such longer time as the Sheriff
27 may allow. This request is contingent upon the defendant’s use of an international calling card so that
28
29                                                    1
              Case 2:07-cr-00088-KJM Document 249 Filed 12/04/08 Page 2 of 2


 1 no costs are incurred by the Sacramento County Jail. The government is not opposed to this request
 2 and Mr. Ferrari has authorized Bruce Locke to signify his signature on this motion.
 3
 4                                              Respectfully submitted,
 5 DATED: December 3, 2008                            /S/
                                                BRUCE LOCKE
 6                                              Attorney for Jesus Valencia Ontiveros
 7
 8 DATED: December 3, 2008                           /S/
                                                PHILIP FERRARI
 9                                              Attorney for the United States
10
11 IT IS SO ORDERED:
12
     DATED: December 4, 2008               _______________________________________
13                                         FRANK C. DAMRELL, JR.
14                                         UNITED STATES DISTRICT JUDGE

15
16
17
18
19
20
21
22
23
24
25
26
27
28
29                                                  2
